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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




 THE WEST VIRGINIA BUSINESS
 COLLEGE, ET. AL.,

       Plaintiffs,



 V.                                   Civil Action No. l:18-cv-912



 ACCREDITING COUNCIL FOR
 INDEPENDENT   COLLEGES AND
 SCHOOLS,

       Defendant.


                            MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendant's Motion to


 Dismiss pursuant to Rule 12(b)(6) for failure to state a claim.

 This case arises out of Defendant Accrediting Council for

 Independent Colleges and Schools' ("ACICS") denial of

 reaccreditation to West Virginia Business College ("WV Business

 College"). Plaintiff brings this action against ACICS asserting

 claims of 1) violation of its rights under due process, 2)

 breach of contract, 3) tortious interference, 4) negligence, 5)

 defamation, and 6) declaratory judgement.

       In its complaint. Plaintiff alleges that by Memorandum

 dated October 11, 2016, Sarah Tucker, Chancellor of West

 Virginia Council for Community and Technical College Education
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